                              Real Estate Appraisal Report




                                           LOCATED AT
                                            140 College Rd
                                          Watsonville, CA 95076




                                                   FOR
                                          Julie & Richard Rivera
                                             140 College Rd
                                          Watsonville, CA 95076




                                                 AS OF
                                                03/03/2018




                                                     BY
                                    Frank O. May, MAI, SRA, ASA
                          State Certified General Appraiser (CA#AG002051)
                                           Appraisal Services
                                      Independent Fee Appraisers
                          2815 Chanticleer Avenue, Santa Cruz, CA 95065
                     Tel:(831)479-1901; Fax(831)479-1905; www.frankmay.com


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                 Form GA2NV_LT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
        Frank O. May, MAI, SRA, ASA
        Appraisal Services
        Independent Fee Appraisers
        2815 Chanticleer Avenue
        Santa Cruz, CA 95065

        03/20/2018

        Julie & Richard Rivera
        140 College Rd
        Watsonville, CA 95076




        Re: Property:         140 College Rd
                              Watsonville, CA 95076
            Owner:            RIVERA RICHARD JR/GONZALES-RIVERA JULIE
            File No.:         18-0058



        Opinion of Value: $ $415,000
        Effective Date:     03/03/2018



        Dear Mr. & Mrs. Rivera,

        At your request, I have completed the appraisal assignment on the above described property.

        That report is attached, along with pertinent addenda; my appraised value is subject to the addenda, which contains
        definitions, comments, limiting conditions, and an outline of summaries used in the valuation process, along with a
        description of the appraisal process and its limitations. You are urged to read the report in its entirety before relying on
        any part of the appraisal report.

        Based on data summarized in this appraisal report, I estimate the subject property's market value, based on a three
        month exposure period, as of 03/03/2018, to be:

                             FOUR HUNDRED FIFTEEN THOUSAND DOLLARS ($415,000)

        Please call me if you have any additional questions or comments regarding this appraisal assignment.




        Sincerely,




        State Certified General Appraiser
        CA License #AG002051
        Appraiser Services
        2815 Chanticleer Avenue, Santa Cruz, CA 95065
        Tel:(831)479-1901; Fax(831)479-1905; Frank@frankmay.com




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                                                                                                                                          Appraisal Services (831) 479-1901
                                                                                                                                                                                                                                                       Rivera
 Property Description                                                                                           UNIFORM RESIDENTIAL APPRAISAL REPORT                                                                                                 File No.
                                                                                                                                                                                                                                                       18-0058
                                 Property Address            140 College Rd                                        City Watsonville                                                                                                 State CA        Zip Code 95076
                                 Legal Description           Assessor's Map No 22-58 (See additional comments...)                                                                                                                   County Santa Cruz
                                 Assessor's Parcel No.         051-171-14                                         Tax Year 2017     R.E. Taxes $                                                                              1,741               Special Assessments $ 0
                                 Borrower         N/A                                       Current Owner RIVERA, RICHARD JR & JULIE                                                                                            Occupant:        Owner                    Tenant                   Vacant


   SUBJECT
                                 Property rights appraised                             Fee Simple                Leasehold                             Project Type               PUD                        Condominium (HUD/VA only)                                 HOA $  N/A                        /Mo.
                                 Neighborhood or Project Name                          Watsonville                                                                                 Map Reference       N/A                                               Census Tract        1225.00
                                 Sale Price $           0                     Date of Sale N/A                                                                             Description and $ amount of loan charges/concessions to be paid by seller            N/A
                                 Lender/Client          Client: Julie & Richard Rivera                                                         Address   2280 Rosewood Dr, San Bruno, CA 94066
                                 Appraiser              Frank O. May, MAI, SRA, ASA                                                            Address   2815 Chanticleer Ave, Santa Cruz, CA 95065
                                 Location                        Urban                         Suburban                  Rural                       Predominant                      Single family housing                         Present land use %                           Land use change
                                                                                                                                                      occupancy                    PRICE                AGE
                                 Built up                        Over 75%                      25-75%                    Under 25%                                                 $(000)               (yrs)                 One family           80                        Not likely                 Likely
                                 Growth rate                     Rapid                         Stable                    Slow                         Owner        75              338         Low       12                   2-4 family            8                        In process
                                 Property values                 Increasing                    Stable                    Declining                    Tenant                        635           High        69              Multi-family          8           To:
                                 Demand/supply                   Shortage                      In balance                Over supply                  Vacant (0-5%)                           Predominant                     Commercial            4
                                 Marketing time                  Under 3 mos.                  3-6 mos.                  Over 6 mos.                  Vac.(over 5%)                 568                       47
                                 Note: Race and the racial composition of the neighborhood are not appraisal factors.

                                 Neighborhood boundaries and characteristics: General neighborhood boundaries are Hecker Pass to the north, Carlton Road to the east, Riverside
                                 Drive to the south, and Highway 1 to the west.
   NEIGHBORHOOD




                                 Factors that affect the marketability of the properties in the neighborhood (proximity to employment and amenities, employment stability, appeal to market, etc.):
                                 The subject is located in a neighborhood of primarily older and rebuilt, varying quality custom-homes just northeast of the Watsonville city
                                 limits. Watsonville neighborhoods are typically heterogeneous but that is acceptable to the market. Downtown Watsonville is about 2 miles
                                 southwest, parks and beaches are within a couple of miles, and there is good access to State Highways 1, 156 and 129 which connect
                                 to State Highways 17 and 101 and lead to major employment centers, all within an hour commute. Schools of all levels within two miles and
                                 bus service is available. Shopping, entertainment and services in nearby Watsonville.
                                 Market conditions in the subject neighborhood (including support for the above conclusions related to the trend of property values, demand/supply, and marketing time
                                 -- such as data on competitive properties for sale in the neighborhood, description of the prevalence of sales and financing concessions, etc.):
                                 Supply (Inventory) is low and prices are climbing, with appreciation averaging about 10% per year since 2015. Cash, Conventional and FHA
                                 Financing has been common, with Sellers making few, if any, concessions. The subject property falls below the neighborhood predominate
                                 value, primarly due to Gross Living Area (GLA) and deferred condition.


                                 Project Information for PUDs (If applicable) - - Is the developer/builder in control of the Home Owners' Association (HOA)?                                                                                                      Yes                 No    N/A
   PUD




                                 Approximate total number of units in the subject project                                               N/A                                                    Approximate total number of units for sale in the subject project                           N/A
                                 Describe common elements and recreational facilities: N/A
                                 Dimensions         101.55' x 53.64 (Approximate)                                                                                                                                      Topography                   Level
                                 Site area       6,403 sf                                                 Corner Lot                                                                    Yes              No            Size                         6,403 sf
                                 Specific zoning classification and description R-1-6 (Single Family Residential)                                                                                                      Shape                        Rectangular
                                 Zoning compliance                   Legal                 Legal nonconforming (Grandfathered use)                              Illegal                 No zoning                      Drainage                     Poor
                                 Highest & best use as improved:                         Present use                     Other use (explain)                                                                           View                         Residential/Avg
                                 Utilities                Public                       Other                  Off-site Improvements                      Type                           Public       Private           Landscaping                  Average
                                 Electricity                                                                  Street                 Asphalt                                                                           Driveway Surface             Asphalt
   SITE




                                 Gas                                                                          Curb/gutter            None                                                                              Apparent easements           None Noted
                                 Water                                                                        Sidewalk               None                                                                              FEMA Special Flood Hazard Area                                     Yes               No
                                 Sanitary sewer                                                               Street lights          Yes                                               AE           Map Date 05/16/2012FEMA Zone
                                 Storm sewer                 None                              Alley                                 None                                 FEMA Map No.   060353-06087C0411E
                                 Comments (apparent adverse easements, encroachments, special assessments, slide areas, illegal or legal nonconforming zoning use, etc.):                            There were no
                                 apparent adverse easements, encroachments or special assessments noted. The subject is a level interior parcel, landscape is average with
                                 concrete patio.
                                 GENERAL DESCRIPTION                                       EXTERIOR DESCRIPTION                                          FOUNDATION                                                    BASEMENT                                          INSULATION

                                 No. of Units                    1                         Foundation                     CC-Per/Avg                     Slab                 No                                       Area Sq. Ft.          None                        Roof
                                 No. of Stories                  1                         Exterior Walls                 Stucco/Avg                     Crawl Space          Yes                                      % Finished            N/A                         Ceiling
                                 Type (Det./Att.)                Detached                  Roof Surface                   Comp.Shg./Avg                  Basement             N/A                                      Ceiling               N/A                         Walls
                                 Design (Style)                  Ranch                     Gutters & Dwnspts.             3"x6"Metal/Avg                 Sump Pump            Not Noted                                Walls                 N/A                         Floor
                                 Existing/Proposed               Existing                  Window Type                    DblPane/Good                   Dampness             Mold Noted                               Floor                 N/A                         None
                                 Age (Yrs.)                      59                        Storm/Screens                  Yes/Avg                        Settlement           Not Noted                                Outside Entry         N/A                         Unknown
   DESCRIPTION OF IMPROVEMENTS




                                 Effective Age (Yrs.)            35                        Manufactured House              No                            Infestation          Noted SeePhotos                                                                            Therm Pn Windows
                                 ROOMS                   Foyer                Living              Dining               Kitchen          Den              Family Rm.               Rec. Rm.          Bedrooms              # Baths             Laundry             Other                         Area Sq. Ft.
                                 Basement                                                                                                                                                                                                                                                                None
                                 Level 1                Area                    1                Area                    1                                                                               3                    2.0                                                                        1,082
                                 Level 2


                                 Finished area above grade contains:                                            5   Rooms;                       3   Bedroom(s);                                 2.0   Bath(s);                              1,082       Square Feet of Gross Living Area
                                 INTERIOR                        Materials/Condition                HEATING            Yes              KITCHEN EQUIP.                    ATTIC                                AMENITIES                                        CAR STORAGE:              2-C Garage
                                 Floors        HdWd/BlwAvg                                          Type               FAU              Refrigerator                      None                                 Fireplace(s) #   1-FP                            None
                                 Walls         Drywall/BlwAvg                                       Fuel               N.Gas            Range/Oven                        Stairs                               Patio      Concrete                              Garage                            # of cars
                                 Trim/Finish   Wood/Avg                                             Condition          Avg              Disposal                          Drop Stair                           Deck       None                                        Attached              2-C Garage
                                 Bath Floor    Vinyl/Avg                                            COOLING            None             Dishwasher                        Scuttle                              Porch      Small/Cov.                                  Detached
                                 Bath Wainscot Cer. Tile/Avg                                        Central                             Fan/Hood                          Floor                                Fence      Wood                                        Built-In
                                 Doors         Hollow Interior/Avg.                                 Other                               Microwave                         Heated                               Pool      None                                   Carport
                                 Solid Exter./Avg, Glass Slider/Gd.                                 Condition                 Washer/Dryer                  Finished                    Driveway   4+Open/Gd
                                 Additional features (special energy efficient items, etc.):                   Hardwood flooring throughout, WWC in MBR, tile flooring in kitchen and bathrooms. Granite
                                 countertops with Oak cabs in kitchen. Brick fireplace in the living room is, reportedly, non-functional. Sliding glass door to concrete patio.
                                 Condition of the improvements, depreciation (physical, functional, and external), repairs needed, quality of construction, remodeling/additions, etc.:          The subject
   COMMENTS




                                 was constructed in 1959 and considered to be average quality construction and in overall below average condition. The subject flooded
                                 recently and suffered substantial water damage to floors, walls, framing, and furnace, as well as residual mold in most rooms. Considered
                                 Def. Maint. in the Condition line-item; estimates for repairs/remediation about $40,000 and effect on value $75,000. See Addendum...
                                 Adverse environmental conditions (such as, but not limited to, hazardous wastes, toxic substances, etc.) present in the improvements, on the site, or in the
                                 immediate vicinity of the subject property.:                              I am not an expert in hazardous waste conditions. However, there did not appear to be any need for
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       an environmental         Doc#
                          assessment report44-4       Filed:
                                           or environmental     07/16/18
                                                            expert.                                                                                                                Entered: 07/16/18 13:39:59                                                                          Page 3 of
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                                                                        1 OF 2                                                                                                                                                                                                     Fannie Mae Form 1004 6/93
                                                                                                            Form UA2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                                                                                                                                                                      Rivera
 Valuation Section                                                                                          UNIFORM RESIDENTIAL APPRAISAL REPORT                                                                                     File No.         18-0058
                              ESTIMATED SITE VALUE                      Abstracted Site Value                                        = $                 275,000         Comments on Cost Approach (such as, source of cost estimate, site value,
                              ESTIMATED REPRODUCTION COST-NEW-OF IMPROVEMENTS:                                                                                           square foot calculation and for HUD, VA and FmHA, the estimated remaining
                              Dwelling                   1,082     Sq. Ft.    @$          200.00            = $                     216,400                              economic life of the property):
                                                                                                                                                                                                      Most cost figures taken from Marshall
                                                                   Sq. Ft.    @$                            =                                                             & Swift Cost Handbook, interviews with local contractors and

  COST APPROACH
                              Patio, Landscaping, Fence                                                     =                        20,000                               appraiser's past personal experience. Plans and permits costs
                              Garage/Carport
                                           440     Sq. Ft.                    @$            75.00           =                        33,000                               are figured into the building base cost. The land-to-value ratio
                              Total Estimated Cost New                                                      = $                     269,400                               is typical for the area, acceptable to the market and common
                              Less                        Physical                  Functional                  External                                                  for all sales used for comparison. Land value was determined
                              Depreciation                117,348                         50,000                                    =$                   167,348          by abstraction. The subject property has suffered substantial
                              Depreciated Value of Improvements                                                                     =$                   102,052          damage attributed to flood and mold damages that were
                              "As-is" Value of Site Improvements                                                                    =$                    40,000          reflected as Functional Obsolescence in the Cost Approach,
                              INDICATED VALUE BY COST APPROACH                                                                      =$                   417,052          but reflected under the line-item Condition in Sales Grid.
                                             ITEM                             SUBJECT                                        COMPARABLE NO. 1                                              COMPARABLE NO. 2                                           COMPARABLE NO. 3

                                                 140 College Rd                                         263 Lakeview Rd                                              44 College Rd                                               25 Parkwood Dr
                              Address            Watsonville                                            Watsonville, CA 95076                                        Watsonville, CA 95076                                       Watsonville, CA 95076
                              Proximity to Subject                                                      0.26 miles SE                                                0.33 miles W                                                0.08 miles SE
                              Sales Price                        $                               0                                    $             480,000                                        $              479,000                                        $              495,000
                              Price/Gross Living Area            $                                  /   $      366.13 /                                              $        442.29 /                                           $       438.44 /
                              Data and/or                          Inspect, ReilMLS                     ML81678265;DOM: 5                                            ML81690571;DOM: 11                                          ML81650085;DOM: 54
                              Verification Source                  RealQuest                            Doc# 39445                                                   Agent: 831-588-1588                                         Doc# 25870
                              VALUE ADJUSTMENTS                              DESCRIPTION                             DESCRIPTION                +(– )$ Adjust.                    DESCRIPTION                 +(– )$ Adjust.                  DESCRIPTION                 +(– )$ Adjust.

                              Sales or Financing                                                        Armlth                                                       Armlth                                                      Armlth
                              Concessions                                                               Cash;0                                                       FHA;0                                           -5,000      FHA;0                                           -5,000
                              Date of Sale/Time                                                         COE:11/17                                   +10,000          COE:03/18                                                   COE:08/17                                      +25,750
                              Location                             Resid./Traffic                       Sl. Superior                                -20,000          Similar                                                     Sl. Superior                                   -20,000
                              Leasehold/Fee Simple                 Fee Simple                           Fee Simple                                                   Fee Simple                                                  Fee Simple
                              Site                                 6,403 sf                             8,146 sf                                       -8,500        12,371 sf                                    -30,000        5,968 sf                                        +2,000
                              View                                 Residential                          Similar                                                      Similar                                                     Similar
                              Design and Appeal                    Ranch                                Similar                                                      Similar                                                     Similar
                              Quality of Construction              Average                              Similar                                                      Similar                                                     Sl. Super.($10/sf)                             -11,500
                              Age                                  A59/E35                              A40/E35                                                      A68/E25                                     -40,000         A54/E20                                        -40,000
                              Condition                            Def. Maint.                          Sl. Superior                                 -20,000         Superior                                    -50,000         Superior                                       -50,000
                              Above Grade                            Total        Bdrms     Baths        Total       Bdrms         Baths                              Total       Bdrms         Baths            +25,000          Total       Bdrms         Baths
                              Room Count                              5         3     2.0                   5          3     2.0                                         4          2     1.0                    +20,000             5           3     1.0                      +20,000
  SALES COMPARISON ANALYSIS




                              Gross Living Area                                1,082 Sq. Ft.                          1,311 Sq. Ft.                  -22,900                       1,083 Sq. Ft.                                                1,129 Sq. Ft.
                              Basement & Finished                  0sf                                  0sf                                                          0sf                                                 0sf
                              Rooms Below Grade                    N/A                                  N/A                                                          N/A                                                 N/A
                              Functional Utility                   Average                              Similar                                                      Inferior                                    +20,000 Sl. Inferior                                           -10,000
                              Heating/Cooling                      FAU/None                             FAU/None                                                     Wall/None                                    +2,500 Wall/None                                               +2,500
                              Energy Efficient Items               Partial/Unknown                      Similar                                                      Similar                                             Similar
                              Garage/Carport                       2-C Garage                           2-C Garage                                                   2-C Garage                                          2-C Garage
                              Porch, Patio, Deck,                  Patio                                Patio                                                        Patio                                               Patio
                              Fireplace(s), etc.                   1-FP                                 1-FP                                                         1-FP                                                None                                                    +5,000
                              Fence, Pool, etc.                    Fence                                Similar                                                      Similar                                             Similar

                              Net Adj. (total)                                                                   +              –     $              -61,400                  +               –    $              -57,500                 +              –       $              -81,250
                              Adjusted Sales Price
                              of Comparable                                                                                           $
                                                                                                                                     421,500        418,600    $        413,750                    $
                              Comments on Sales Comparison (including the subject property's compatibility to the neighborhood, etc.):
                                                                                                                             Search Parameters for the subject property
                              included all single family residences in market area 54 of Watsonville. Dissimilarities between the subject and the comparables were
                              identified and adjustments were based on matched-paired analysis of the comparable sales, as the subject property and market data
                              permitted. Site size adjustments were estimated at $5/sf and rounded; room counts were estimated at $25,000 per bedroom and $20,000 per
                              full bath, plus an allowance for Functional Utility. GLA was adjusted at $100/sf. Deferred maintenance was estimated in attached
                              addendum comments and were reflected in the Sales Comparison grid under the line-item "Conditon". See attached addendum...
                                             ITEM                             SUBJECT                                        COMPARABLE NO. 1                                              COMPARABLE NO. 2                                           COMPARABLE NO. 3

                              Date, Price and Data                 No Prior Sale                        No Prior Sale                                                No Prior Sale                                               No Prior Sale
                              Source, for prior sales              Past 36 months                       Past 12 months                                               Past 12 months                                              Past 12 months
                              within year of appraisal             Per RealQuest                        Per RealQuest                                                Per RealQuest                                               Per RealQuest
                              Analysis of any current agreement of sale, option, or listing of subject property and analysis of any prior sales of subject and comparables within one year of the date of appraisal:
                               This is an as-is appraisal of the subject property as of 03/03/2018, photographs, notes and measurements were taken on that date. There
                               was no current listing or contract to analyze. The last sale was in 1996.
                              INDICATED VALUE BY SALES COMPARISON APPROACH                                                                               $           415,000
                              INDICATED VALUE BY INCOME APPROACH (if Applicable) Estimated Market Rent  $      N/A      /Mo. x Gross Rent Multiplier   =$                N/A
                              This appraisal is made                    "as is"              subject to the repairs, alterations, inspections or conditions listed below                                          subject to completion per plans & specifications.
                              Conditions of Appraisal:This is an "as is" appraisal meaning the valuation date and the inspection dates were the same day. Note: Subject photos
                              are dated 02/01/2008; that was a camera error, photos where taken on 03/03/2018 at the inspection.
                              Final Reconciliation: The sales comparison approach was considered the most relevant approach to value, even though there were no directly
                              comparable sales (i.e. none with the same amount of flood and mold related damages), but there was, otherwise, reasonably good market
                              data.
  RECONCILIATION




                              The purpose of this appraisal is to estimate the market value of the real property that is the subject of this report, based on the above conditions and the certification, contingent
                              and limiting conditions, and market value definition that are stated in the attached Freddie Mac Form 439/FNMA form 1004B (Revised                                                                  June 1993                 ).
                              I (WE) ESTIMATE THE MARKET VALUE, AS DEFINED, OF THE REAL PROPERTY THAT IS THE SUBJECT OF THIS REPORT, AS OF                                                                                                                  03/03/2018
                              (WHICH IS THE DATE OF INSPECTION AND THE EFFECTIVE DATE OF THIS REPORT) TO BE                                                                            $                   415,000
                              APPRAISER:                                                                                                                     SUPERVISORY APPRAISER (ONLY IF REQUIRED):
                              Signature                                                                                                                      Signature                                                                                           Did            Did Not
                              Name      Frank O. May, MAI, SRA, ASA                                                                                          Name                                                                                            Inspect Property
                              Date Report Signed    03/20/2018                                                                                               Date Report Signed
                              State Certification # AG002051                                                                           State   CA            State Certification #                                                                                     State
Case:
   Or State 18-50604
            License #                                                        Doc# 44-4                                 Filed:State07/16/18              Entered:
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                                                                                                        Form UA2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                          UNIFORM RESIDENTIAL APPRAISAL REPORT
                                                                                                                              MARKET DATA ANALYSIS


                              These recent sales of properties are most similar and proximate to subject and have been considered in the market analysis. The description includes a dollar adjustment, reflecting
                              market reaction to those items of significant variation between the subject and comparable properties. If a significant item in the comparable property is superior to, or more
                              favorable than, the subject property, a minus (-) adjustment is made, thus reducing the indicated value of the subject. If a significant item in the comparable is inferior to, or less
                              favorable than, the subject property, a plus (+) adjustment is made, thus increasing the indicated value of the subject.
                                            ITEM                             SUBJECT                                        COMPARABLE NO.   4                                     COMPARABLE NO.   5                                       COMPARABLE NO.   6
                                             140 College Rd                                          87 Beverly Dr                                         241 Lakeview Rd                                              27 Memorial Ave
                              Address        Watsonville                                             Watsonville, CA 95076                                 Watsonville, CA 95076                                        Freedom, CA 95019
                              Proximity to Subject                                                   0.40 miles W                                          0.33 miles S                                                 2.66 miles W
                              Sales Price                       $                             0                                   $          568,000                                     $           535,000                                      $           375,000
                              Price/Gross Living Area           $                             /     $       403.12 /                                       $     379.70 /                                           $         450.18 /
                              Data and/or                       Inspect, ReilMLS                     ML81679919;DOM: 32                                    ML81655675;DOM: 104                                          ML81635224;DOM: 9
                              Verification Sources              RealQuest                            Doc# 2368                                             Doc# 41021                                                   Doc# 26272
                              VALUE ADJUSTMENTS                             DESCRIPTION                         DESCRIPTION              +(– )$ Adjust.                DESCRIPTION              +(– )$ Adjust.                  DESCRIPTION              +(– )$ Adjust.

                              Sales or Financing                                                     ArmLth                                                ArmLth                                                       ArmLth
                              Concessions                                                            FHA;0                                     -5,000      FHA;0                                     -5,000             Conv;0
                              Date of Sale/Time                                                      COE: 01/18                                +8,000      COE: 11/17                               +12,000             COE: 08/17                            +18,500
                              Location                          Resid./Traffic                       Sl. Superior                             -20,000      Sl. Superior                             -20,000             Similar
                              Leasehold/Fee Simple              Fee Simple                           Fee Simple                                            Fee Simple                                                   Fee Simple
                              Site                              6,403 sf                             6,752 sf                                    -1,500    8,146 sf                                     -8,500          7,275 sf                                 -4,500
                              View                              Residential                          Similar                                               Similar                                                      Similar
  SALES COMPARISON ANALYSIS




                              Design and Appeal                 Ranch                                Similar                                               Similar                                                      Similar
                              Quality of Construction           Average                              Similar                                               Similar                                                      Similar
                              Age                               A59/E35                              A61/E25                                  -40,000      A48/E30                                   -20,000            A70/E35
                              Condition                         Def. Maint.                          Superior                                 -50,000      Superior                                  -50,000            Sl. Superior                          -20,000
                              Above Grade                           Total     Bdrms       Baths         Total       Bdrms     Baths                            Total       Bdrms     Baths                              Total       Bdrms     Baths           +25,000
                              Room Count                             5         3     2.0                 5           3     2.0                                  5           3     2.0                                    4           2     1.0                +20,000
                              Gross Living Area                               1,082 Sq. Ft.                         1,409 Sq. Ft.             -32,700                      1,409 Sq. Ft.             -32,700                          833 Sq. Ft.             +24,900
                              Basement & Finished               0sf                                  0sf                                                   0sf                                                 0sf
                              Rooms Below Grade                 N/A                                  N/A                                                   N/A                                                 N/A
                              Functional Utility                Average                              Similar                                               Similar                                             Inferior                                        -20,000
                              Heating/Cooling                   FAU/None                             FAU/None                                              FAU/None                                            Wall/None                                        +2,500
                              Energy Efficient Items            Partial/Unknown                      Similar                                               Similar                                             Similar
                              Garage/Carport                    2-C Garage                           2-C Garage                                            2-C Garage                                          2-C Garage
                              Porch, Patio, Deck,               Patio                                Patio                                                 Patio                                               Patio
                              Fireplace(s), etc.                1-FP                                 1-FP                                                  None                                         +5,000 None                                              +5,000
                              Fence, Pool, etc.                 Fence                                Similar                                               Similar                                             Similar

                              Net Adj. (total)                                                                  +             –   $          -141,200                  +             –   $          -119,200                    +             –   $              51,400
                              Adjusted Sales Price
                              of Comparable                                                $        426,800                   $        415,800                 $       426,400
                              Date, Price and Data      No Prior Sale       No Prior Sale                     No Prior Sale                    No Prior Sale
                              Source for prior sales    Past 36 months      Past 12 months                    Past 12 months                   Past 12 months
                              within year of appraisal  Per RealQuest       Per RealQuest                     Per RealQuest                    Per RealQuest
                              Comments:          Comparables Four, Five and Six were provided as additional support. Adjustments were based on matched-paired comparisons
                              of comparable sales, within the scope of the assignment and the confines of the subject property and surrounding homes.

                              The results were analyzed and the properties which were the most comparable to the subject were selected. The selling information was
                              verified with County records. Dissimilarities between the subject and the comparables were indentified, and the appropriate adjustments
                              were based on matched-paired comparisons of comparable sales within the scope of the assignment and the confines of the subject
                              property and surrounding homes

                              Adjustments were consistently applied to all comparables, upward and downward, which is the major reason why additional market data was
                              offered in this appraisal; that is, to help insure a reasonably good supply of upward and downward adjustments to minimize any bias that may
                              exist in an otherwise very judgmental process. The adjustments were tied to either a dollar value per square foot of the residence, a dollar
                              value per square foot difference in the site; a dollar value for every year difference in the effective age; a cost-to-cure or cost-to-reproduce; or
                              a straight matched-paired allowance. Site adjustments were based on the size, slope and utility of each individual site relative to the subject
                              site and land was adjusted at $5.00/sf and rounded. Some of the more judgmental adjustments were based on a percentage of the sales
                              price. These adjustments were the culmination of a comparison process that seemed to best show how the market reacted to different
  COMMENTS




                              amenities and they resulted in a narrowing of the range between indicated adjusted values. Each amenity was considered together with all
                              the other factors of that property.

                              In all cases, the adjustments were an attempt to mirror actual market behavior for that specific property. If you have any questions regarding
                              this assignment or the adjustments and analysis, please call the appraiser immediately.




Case:          18-50604
 Market Data Analysis 6-93                                                  Doc# 44-4                               Filed: 07/16/18                              Entered: 07/16/18 13:39:59                                                           Page 5 of
                                                                                                                                28
                                                                                                  Form UA2.(AC) - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                                                                                                                     Rivera
                                                                                            USPAP ADDENDUM                                                                File No.   18-0058
  Borrower                   RIVERA RICHARD JR/GONZALES-RIVERA JULIE
  Property Address           140 College Rd
  City                       Watsonville                         County                                   Santa Cruz                                              State   CA           Zip Code   95076
  Lender                     Client: Julie & Richard Rivera

         This report was prepared under the following USPAP reporting option:
              Appraisal Report                                     This report was prepared in accordance with USPAP Standards Rule 2-2(a).

              Restricted Appraisal Report                          This report was prepared in accordance with USPAP Standards Rule 2-2(b).




         Reasonable Exposure Time
         My opinion of a reasonable exposure time for the subject property at the market value stated in this report is:
                                                                                                                  90 days or less if competently
         priced, exposed and marketed. Exposure time was based on comparable sales market data and exposure periods (i.e. days on market,
         or DOM). Exposure culminates on the sale date of each property used for comparison, which means the market value of the subject
         residence, as of 03/03/2018 was based on an exposure of the subject 90 days prior to the valuation date.




         Additional Certifications
         I certify that, to the best of my knowledge and belief:

              I have NOT performed services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the
              three-year period immediately preceding acceptance of this assignment.

              I HAVE performed services, as an appraiser or in another capacity, regarding the property that is the subject of this report within the three-year
              period immediately preceding acceptance of this assignment. Those services are described in the comments below.

         - The statements of fact contained in this report are true and correct.
         - The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and are my personal, impartial, and unbiased
         professional analyses, opinions, and conclusions.
         - Unless otherwise indicated, I have no present or prospective interest in the property that is the subject of this report and no personal interest with respect to the parties
         involved.
         - I have no bias with respect to the property that is the subject of this report or the parties involved with this assignment.
         - My engagement in this assignment was not contingent upon developing or reporting predetermined results.
         - My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors the cause of
         the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this appraisal.
         - My analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice that
         were in effect at the time this report was prepared.
         - Unless otherwise indicated, I have made a personal inspection of the property that is the subject of this report.
         - Unless otherwise indicated, no one provided significant real property appraisal assistance to the person(s) signing this certification (if there are exceptions, the name of each
         individual providing significant real property appraisal assistance is stated elsewhere in this report).
         --- I have NOT knowingly performed services, as an appraiser or in any other capacity, for the owners of the subject property within the three-year period immediately
         preceding acceptance of this assignment.

         Additional Comments




     APPRAISER:                                                                                                    SUPERVISORY APPRAISER: (only if required)



     Signature:                                                                                                    Signature:
     Name:        Frank O. May, MAI, SRA, ASA                                                                      Name:
     Date Signed:         03/20/2018                                                                               Date Signed:
     State Certification #:     AG002051                                                                           State Certification #:
     or State License #:                                                                                           or State License #:
     State:    CA                                                                                                  State:
     Expiration Date of Certification or License:         06/02/2018                                               Expiration Date of Certification or License:

Case:       18-50604
  Effective Date of Appraisal:    Doc# 44-4
                               03/03/2018                                      Filed: 07/16/18 Supervisory
                                                                                                     Entered:
                                                                                                           Appraiser Inspection07/16/18
                                                                                                                                of Subject Property: 13:39:59 Page 6 of
                                                                                           28 Did Not                    Exterior-only from Street       Interior and Exterior

                                                                   Form ID14AP - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                  Supplemental Addendum                                             File No.   18-0058
    Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
    Property Address   140 College Rd
    City               Watsonville                     County Santa Cruz                               State   CA              Zip Code   95076
    Lender/Client      Julie & Richard Rivera

                                                            EXTENDED COMMENTS


           LEGAL DESCRIPTION
           No legal description was made available to the appraiser. The subject property was identified using the street address and a
           corresponding Assessor's Parcel Number and Map to identify the property and was presumed to be correct.

           SITE
           There were no engineers, surveyors, geologists or other experts used in conjunction with this assignment. The actual location of
           the subject property was determined by the address, not the legal description, and the appraiser does not have the expertise to
           determine if the legal description is, in fact, an accurate portrayal of the property rights appraised without the assistance of a
           land surveyor or engineer. The Assessor's Map was presumed to be an accurate portrayal of the subject site and was used as the
           primary reference, aside from the property address. Again, without a surveyor, there was no way to determine the actual
           location of boundaries and property lines. They were presumed to be were indicated by roads, pole-lines, buildings, and fences.

           Zoning and general plan information was also taken from Public Records and/or local Government agencies; although those
           sources were presumed to be correct, no responsibility can be accepted by the appraiser for incorrect data received from
           government workers over the telephone. The cost and timing involved to obtain a written determination was not possible given
           scope of this assignment. No land use consultants were used and the appraiser is not a land use consultant or planner.

           No special study zone maps were relied on, including the Alquist-Priolo Special Study Zone Map. We consulted local planning
           maps and FEMA flood maps; discussed the subject site with planning department officials, but cannot accept any responsibility
           for any special study zones affecting the subject site.

           There appears to be a significant adverse condition affecting the subject site and the home situated upon the site. There were no
           sales that had similar damage as the subject that I could locate using the MLS or other market participants. Further, there were
           no sales that I could locate that were subject to flooding to the extent of the subject property. The FEMA Flood map does not
           reflect the real "flood problem" impacting the subject property, which is, the drainage from College Road and North.

           The County may have some responsibility, but the damage has been done and the burden seems to be on the property owner to
           make any repairs, at least at the present time.

           COMMENTS ON SALES COMPARISON
           All adjustments attempted to reflect contributory positive or negative value of the difference in various amenities, relative to the
           subject residence. To the extent market data allowed, the adjustments were based on matched-paired analysis of market data,
           however, there were no sold homes in the area that had water and/or mold damages to the extent of the subject residence. The
           overall impact of the damages on the subject's market value is:1.) it is not possible to get a conventional bank loan to purchase
           the home, so all the potential buyers that were not paying cash were removed from the Demand equation; 2.) the solution needs
           to also deal with the cause of the flood damages, which appears to be the drainage issue caused by the home being slightly
           below the grade to the road. That repair involves very costly repairs, such as "French Drains," grading, possibly even raising the
           foundation, plus dealing with City and County Governments regarding road levels.

           The overall impact on the subject residence's marketability and market value is so significant, in my opinion, that the home
           would not be marketed to the typical homeowner/buyer, but rather persons/entities that are entrepreneurs. They purchase
           damaged properties at greatly reduced prices, fix and/or repair the problems and sell the home at the normal market value of a
           completely renovated home that qualifies for conventional financing. That means the "as is" purchase price needs to be low
           enough to attract a cash buyer with the skills and resources to completely repair and renovate the home, plus provide an
           entrepreneurial return to the person taking the risk and spending the resources to fix the problems. The investment consists of
           cash and risk, because all of the problems are not completely known yet, which also means the extent of the repairs and the
           length of time to repair is still unknown.

           Based on other "Projects" such as this one, the "Market Value" was estimated at the lower end of the indicated value range at
           around $415,000. Costs to repair the various problems was estimated at around $50,000 and the return of that cost means the
           home would need to sell for at least $500,000.

           The source for market data was the local Multiple Listing Service (MLS) and sales were checked with at least one other source,
           either the agent or the Public Records, in most cases both sources, as well as the MLS were used to corroborate market data.

           CONDITIONS OF APPRAISAL
           This appraisal may be used by the person to whom the letter of transmittal is addressed and for its intended function, only. No
           other users or uses are permitted. The appraiser does not claim to be an expert in land use, construction, legal, engineering,
           surveying, or any other field of expertise beyond real estate market analysis and interpretation. The appraiser is not a home or
           environmental inspector. The appraiser provides an opinion of value. The appraisal does not guarantee that the property is free
           of defects or environmental problems. The appraiser performs an inspection of visible and accessible areas only. Mold may be
           present in areas the appraiser cannot see. A professional home inspection or environmental inspection is recommended. Any
           statements made in this report were used only for purposes of interpreting market behavior in an effort to estimate market value.
           If you have any questions please call the appraiser immediately upon receipt of this report.




                                      Form TADD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case: 18-50604                  Doc# 44-4       Filed: 07/16/18 Entered: 07/16/18 13:39:59                                                        Page 7 of
                                                                          28
                                               RealQuest Property Detail Report
   Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
   Property Address   140 College Rd
   City               Watsonville                      County Santa Cruz                                       State    CA   Zip Code   95076
   Lender/Client      Julie & Richard Rivera




Case: 18-50604                Doc# 44-4            Filed: 07/16/18                    Entered: 07/16/18 13:39:59                                Page 8 of
                                                               28
                                        Form MAP.PLAT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                            Subject Photo Page
   Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
   Property Address   140 College Rd
   City               Watsonville                      County Santa Cruz                                        State    CA       Zip Code   95076
   Lender/Client      Julie & Richard Rivera




                                                                                                                              Subject Front
                                                                                                         140 College Rd
                                                                                                         Sales Price            0
                                                                                                         Gross Living Area      1,082
                                                                                                         Total Rooms            5
                                                                                                         Total Bedrooms         3
                                                                                                         Total Bathrooms        2.0
                                                                                                         Location               Resid./Traffic
                                                                                                         View                   Residential
                                                                                                         Site                   6,403 sf
                                                                                                         Quality                Average
                                                                                                         Age                    A59/E35




                                                                                                                                Note: Home sits slightly below
                                                                                                                                grade with the road and water
                                                                                                                                drains toward the home.




                                                                                                                              Subject Rear




                                                                                                                              Subject Rear




Case: 18-50604                Doc# 44-4            Filed: 07/16/18                     Entered: 07/16/18 13:39:59                                    Page 9 of
                                                               28
                                        Form PICPIX.SR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                           Subject Photo Page
  Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
  Property Address   140 College Rd
  City               Watsonville                      County Santa Cruz                                        State    CA      Zip Code   95076
  Lender/Client      Julie & Richard Rivera




                                                                                                                             Subject Yard
                                                                                                        140 College Rd
                                                                                                        Sales Price           0
                                                                                                        Gross Living Area     1,082
                                                                                                        Total Rooms           5
                                                                                                        Total Bedrooms        3
                                                                                                        Total Bathrooms       2.0
                                                                                                        Location              Resid./Traffic
                                                                                                        View                  Residential
                                                                                                        Site                  6,403 sf
                                                                                                        Quality               Average
                                                                                                        Age                   A59/E35




                                                                                                                         Subject Street




                                                                                                                         Subject Street




Case: 18-50604                Doc# 44-4             Filed: 07/16/18                    Entered: 07/16/18 13:39:59                                  Page 10
                                                               of 28
                                       Form PICPIX.SR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                 Subject Interior Photo Page
Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
Property Address   140 College Rd
City               Watsonville                     County Santa Cruz                                        State CA        Zip Code 95076
Lender/Client      Julie & Richard Rivera
                                                                                                                         Living Room
                                                                                                     140 College Rd
                                                                                                     Sales Price          0
                                                                                                     Gross Living Area    1,082
                                                                                                     Total Rooms          5
                                                                                                     Total Bedrooms       3
                                                                                                     Total Bathrooms      2.0
                                                                                                     Location             Resid./Traffic
                                                                                                     View                 Residential
                                                                                                     Site                 6,403 sf
                                                                                                     Quality              Average
                                                                                                     Age                  A59/E35




                                                                                                                          The date on the photograph
                                                                                                                          was a camera malfunction.



                                                                                                                         Living Room




                                                                                                                          White spray paint is mold
                                                                                                                          treatment.



                                                                                                                          The date on the photograph
                                                                                                                          was a camera malfunction.




                                                                                                                           Kitchen




              Case: 18-50604        Doc# 44-4           Filed: 07/16/18            Entered: 07/16/18 13:39:59                    Page 11
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                                 Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                 Subject Interior Photo Page
Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
Property Address   140 College Rd
City               Watsonville                     County Santa Cruz                                        State CA       Zip Code 95076
Lender/Client      Julie & Richard Rivera
                                                                                                                         Bedroom
                                                                                                     140 College Rd
                                                                                                     Sales Price         0
                                                                                                     Gross Living Area   1,082
                                                                                                     Total Rooms         5
                                                                                                     Total Bedrooms      3
                                                                                                     Total Bathrooms     2.0
                                                                                                     Location            Resid./Traffic
                                                                                                     View                Residential
                                                                                                     Site                6,403 sf
                                                                                                     Quality             Average
                                                                                                     Age                 A59/E35
                                                                                                                         Vertical lines on the wall are
                                                                                                                         lines of mold that had been
                                                                                                                         behind wainscoting.
                                                                                                                         The date on the photograph
                                                                                                                         was a camera malfunction.



                                                                                                                         Bedroom




                                                                                                                         The date on the photograph
                                                                                                                         was a camera malfunction.




                                                                                                                   Master Bedroom




                                                                                                                         Note: Mold treatment on wall
                                                                                                                         at the right of the frame.

                                                                                                                         The date on the photograph
                                                                                                                         was a camera malfunction.

              Case: 18-50604        Doc# 44-4           Filed: 07/16/18            Entered: 07/16/18 13:39:59                   Page 12
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                                 Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                 Subject Interior Photo Page
Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
Property Address   140 College Rd
City               Watsonville                     County Santa Cruz                                        State CA         Zip Code 95076
Lender/Client      Julie & Richard Rivera
                                                                                                                  Master Bathroom
                                                                                                     140 College Rd
                                                                                                     Sales Price           0
                                                                                                     Gross Living Area     1,082
                                                                                                     Total Rooms           5
                                                                                                     Total Bedrooms        3
                                                                                                     Total Bathrooms       2.0
                                                                                                     Location              Resid./Traffic
                                                                                                     View                  Residential
                                                                                                     Site                  6,403 sf
                                                                                                     Quality               Average
                                                                                                     Age                   A59/E35




                                                                                                                           The date on the photograph
                                                                                                                           was a camera malfunction.



                                                                                                                          Bathroom




                                                                                                                           The date on the photograph
                                                                                                                           was a camera malfunction.




                                                                                                                         Mold/Damage




                                                                                                                           Mold in Master Bedroom



                                                                                                                           The date on the photograph
                                                                                                                           was a camera malfunction.

              Case: 18-50604        Doc# 44-4           Filed: 07/16/18            Entered: 07/16/18 13:39:59                     Page 13
                                                                   of 28
                                 Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                   Subject Interior Photo Page
  Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
  Property Address   140 College Rd
  City               Watsonville                      County Santa Cruz                                        State    CA      Zip Code   95076
  Lender/Client      Julie & Richard Rivera




                                                                                                                             Mold/Damage
                                                                                                         140 College Rd
                                                                                                         Sales Price          0
                                                                                                         Gross Living Area    1,082
                                                                                                         Total Rooms          5
                                                                                                         Total Bedrooms       3
                                                                                                         Total Bathrooms      2.0
                                                                                                         Location             Resid./Traffic
                                                                                                         View                 Residential
                                                                                                         Site                 6,403 sf
                                                                                                         Quality              Average
                                                                                                         Age                  A59/E35




                                                                                                                              The date on the photograph
                                                                                                                              was a camera malfunction.




                                                                                                                         Bedroom/Mold




                                                                                                                              The date on the photograph
                                                                                                                              was a camera malfunction.




                                                                                                                               Flooding
                                                                                                                              Photo provided by owner

                                                                                                                              The dark area to the right of
                                                                                                                              the tile is runoff water from
                                                                                                                              rains and roadway drainage.
                                                                                                                              At the front porch it appears
                                                                                                                              to be about 6" to 8" deep in
                                                                                                                              this photo.




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                                                              of 28
                                       Form PICPIX.SI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                   Subject Damage Photos Provided by Owner
Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
Property Address   140 College Rd
City               Watsonville                     County Santa Cruz                                        State CA       Zip Code 95076
Lender/Client      Julie & Richard Rivera
                                                                                                                         Flooding
                                                                                                     140 College Rd
                                                                                                     Sales Price         0
                                                                                                     Gross Living Area   1,082
                                                                                                     Total Rooms         5
                                                                                                     Total Bedrooms      3
                                                                                                     Total Bathrooms     2.0
                                                                                                     Location            Resid./Traffic
                                                                                                     View                Residential
                                                                                                     Site                6,403 sf
                                                                                                     Quality             Average
                                                                                                     Age                 A59/E35




                                                                                                                         Another view of front flooding




                                                                                                             Interior Water Damage




                                                                                                                         Rear yard flooding, sand bags
                                                                                                                         used to block entrances to
                                                                                                                         garage to no avail.



                                                                                                              Garage Water Damage




                                                                                                                         Water in garage was about
                                                                                                                         6" to 8" deep, causing rot and
                                                                                                                         mold.

              Case: 18-50604        Doc# 44-4           Filed: 07/16/18            Entered: 07/16/18 13:39:59                   Page 15
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                                 Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                   Subject Damage Photos Provided by Owner
Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
Property Address   140 College Rd
City               Watsonville                     County Santa Cruz                                        State CA       Zip Code 95076
Lender/Client      Julie & Richard Rivera
                                                                                                              Garage Water Damage
                                                                                                     140 College Rd
                                                                                                     Sales Price         0
                                                                                                     Gross Living Area   1,082
                                                                                                     Total Rooms         5
                                                                                                     Total Bedrooms      3
                                                                                                     Total Bathrooms     2.0
                                                                                                     Location            Resid./Traffic
                                                                                                     View                Residential
                                                                                                     Site                6,403 sf
                                                                                                     Quality             Average
                                                                                                     Age                 A59/E35




                                                                                                                         Same Photo as above.




                                                                                                              Garage Water Damage




                                                                                                                         Water damage caused by
                                                                                                                         flooding appears to have been
                                                                                                                         around 6" to 8" consistently.



                                                                                                              Garage Water Damage




                                                                                                                         Water damage caused by
                                                                                                                         flooding appears to have been
                                                                                                                         around 6" to 8" consistently.

              Case: 18-50604        Doc# 44-4           Filed: 07/16/18            Entered: 07/16/18 13:39:59                   Page 16
                                                                   of 28
                                 Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                   Subject Damage Photos Provided by Owner
Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
Property Address   140 College Rd
City               Watsonville                     County Santa Cruz                                        State CA       Zip Code 95076
Lender/Client      Julie & Richard Rivera
                                                                                                                         Termites
                                                                                                     140 College Rd
                                                                                                     Sales Price         0
                                                                                                     Gross Living Area   1,082
                                                                                                     Total Rooms         5
                                                                                                     Total Bedrooms      3
                                                                                                     Total Bathrooms     2.0
                                                                                                     Location            Resid./Traffic
                                                                                                     View                Residential
                                                                                                     Site                6,403 sf
                                                                                                     Quality             Average
                                                                                                     Age                 A59/E35




                                                                                                                         Termites
                                                                                                                         I am not an expert in termite
                                                                                                                         damages. I suggest a
                                                                                                                         structural pest control report
                                                                                                                         be obtained. The damages
                                                                                                                         could be extensive and costly.




                                                                                                                         Termites




              Case: 18-50604        Doc# 44-4           Filed: 07/16/18            Entered: 07/16/18 13:39:59                   Page 17
                                                                   of 28
                                 Form LPICPIX.DSS_LTIR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                       Comparable Photo Page
  Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
  Property Address   140 College Rd
  City               Watsonville                      County Santa Cruz                                        State    CA     Zip Code   95076
  Lender/Client      Julie & Richard Rivera




                                                                                                                        Comparable 1
                                                                                                        263 Lakeview Rd
                                                                                                        Prox. to Subject     0.26 miles SE
                                                                                                        Sale Price           480,000
                                                                                                        Gross Living Area    1,311
                                                                                                        Total Rooms          5
                                                                                                        Total Bedrooms       3
                                                                                                        Total Bathrooms      2.0
                                                                                                        Location             Sl. Superior
                                                                                                        View                 Similar
                                                                                                        Site                 8,146 sf
                                                                                                        Quality              Similar
                                                                                                        Age                  A40/E35




                                                                                                                        Comparable 2
                                                                                                        44 College Rd
                                                                                                        Prox. to Subject     0.33 miles W
                                                                                                        Sale Price           479,000
                                                                                                        Gross Living Area    1,083
                                                                                                        Total Rooms          4
                                                                                                        Total Bedrooms       2
                                                                                                        Total Bathrooms      1.0
                                                                                                        Location             Similar
                                                                                                        View                 Similar
                                                                                                        Site                 12,371 sf
                                                                                                        Quality              Similar
                                                                                                        Age                  A68/E25




                                                                                                                        Comparable 3
                                                                                                        25 Parkwood Dr
                                                                                                        Prox. to Subject     0.08 miles SE
                                                                                                        Sale Price           495,000
                                                                                                        Gross Living Area    1,129
                                                                                                        Total Rooms          5
                                                                                                        Total Bedrooms       3
                                                                                                        Total Bathrooms      1.0
                                                                                                        Location             Sl. Superior
                                                                                                        View                 Similar
                                                                                                        Site                 5,968 sf
                                                                                                        Quality              Sl. Super.($10/sf)
                                                                                                        Age                  A54/E20




Case: 18-50604                Doc# 44-4             Filed: 07/16/18                    Entered: 07/16/18 13:39:59                                 Page 18
                                                               of 28
                                       Form PICPIX.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                       Comparable Photo Page
  Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
  Property Address   140 College Rd
  City               Watsonville                      County Santa Cruz                                        State    CA     Zip Code   95076
  Lender/Client      Julie & Richard Rivera




                                                                                                                        Comparable 4
                                                                                                        87 Beverly Dr
                                                                                                        Prox. to Subject     0.40 miles W
                                                                                                        Sale Price           568,000
                                                                                                        Gross Living Area    1,409
                                                                                                        Total Rooms          5
                                                                                                        Total Bedrooms       3
                                                                                                        Total Bathrooms      2.0
                                                                                                        Location             Sl. Superior
                                                                                                        View                 Similar
                                                                                                        Site                 6,752 sf
                                                                                                        Quality              Similar
                                                                                                        Age                  A61/E25




                                                                                                                        Comparable 5
                                                                                                        241 Lakeview Rd
                                                                                                        Prox. to Subject     0.33 miles S
                                                                                                        Sale Price           535,000
                                                                                                        Gross Living Area    1,409
                                                                                                        Total Rooms          5
                                                                                                        Total Bedrooms       3
                                                                                                        Total Bathrooms      2.0
                                                                                                        Location             Sl. Superior
                                                                                                        View                 Similar
                                                                                                        Site                 8,146 sf
                                                                                                        Quality              Similar
                                                                                                        Age                  A48/E30




                                                                                                                        Comparable 6
                                                                                                        27 Memorial Ave
                                                                                                        Prox. to Subject     2.66 miles W
                                                                                                        Sale Price           375,000
                                                                                                        Gross Living Area    833
                                                                                                        Total Rooms          4
                                                                                                        Total Bedrooms       2
                                                                                                        Total Bathrooms      1.0
                                                                                                        Location             Similar
                                                                                                        View                 Similar
                                                                                                        Site                 7,275 sf
                                                                                                        Quality              Similar
                                                                                                        Age                  A70/E35




Case: 18-50604                Doc# 44-4             Filed: 07/16/18                    Entered: 07/16/18 13:39:59                                 Page 19
                                                               of 28
                                       Form PICPIX.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                              Building Sketch
  Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
  Property Address   140 College Rd
  City               Watsonville                      County Santa Cruz                                       State     CA   Zip Code   95076
  Lender/Client      Julie & Richard Rivera




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                                      Form SKT.BLDSKI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                Location Map
  Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
  Property Address   140 College Rd
  City               Watsonville                      County Santa Cruz                                      State    CA   Zip Code   95076
  Lender/Client      Julie & Richard Rivera




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                                       Form MAP.LOC - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                          Site Map
Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
Property Address   140 College Rd
City               Watsonville                     County Santa Cruz                      State CA   Zip Code 95076
Lender/Client      Julie & Richard Rivera




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                                                     around 6" to 8" consistently.
                                                                Flood Map
Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
Property Address   140 College Rd
City               Watsonville                     County Santa Cruz                                      State CA    Zip Code 95076
Lender/Client      Julie & Richard Rivera




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                                  Form MAP_LT.FLOOD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                   Aerial View
  Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
  Property Address   140 College Rd
  City               Watsonville                      County Santa Cruz                                       State   CA   Zip Code   95076
  Lender/Client      Julie & Richard Rivera




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                                      Form MAP.AERIAL - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                          Aerial View Close Up
  Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
  Property Address   140 College Rd
  City               Watsonville                      County Santa Cruz                                       State   CA   Zip Code   95076
  Lender/Client      Julie & Richard Rivera




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                                      Form MAP.AERIAL - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                                                               Appraisal Services (831) 479-1901

                                                                                          FIRREA / USPAP ADDENDUM
 Owner                     RIVERA RICHARD JR/GONZALES-RIVERA JULIE                                                                                                                        File No.      18-0058
 Property Address          140 College Rd
 City                      Watsonville                    County Santa Cruz                                                                                                 State    CA                 Zip Code     95076
 Lender/Client             Julie & Richard Rivera
 Purpose

 The purpose of the appraisal was to provide an opinion of the subject property's market value, as defined elsewhere in this report. The function
 of the appraisal report was to provide assistance with asset management.

 Scope of Work

 At the clients request, and with full knowledge and understanding of the appraisal process prior to ordering the appraisal, the undersigned
 appraiser inspected the subject property in a manner consistent with typical residential appraisal assignments. That is to say, the appraisers not
 an expert in home inspection, termite or other organisms, environmental damage or contamination, roofing or construction, or any type of
 structural engineering. The appraiser is also not an expert in legal matters or land use issues. That being stated, the appraiser viewed the
 subject's interior and exterior, in this particular case, compiled data about the subject's region and immediate neighborhood, the local real estate
 market as it pertains to the subject property, and any other general and specific data deemed pertinent by the appraiser for the assignment. The
 data was then analyzed and reconciled into a value opinion that was summarized into a form report.

 Intended Use / Intended User
 Intended Use:             The intended use of this report was to assist with asset management.


 Intended User(s):
                This report complies with the Uniform Standards of Professional Appraisal Practices (USPAP). The intended user is the person
 named in the letter of transmittal, only. No one other than that person or entity may rely on this appraisal for any reason without express written
 permission of the appraiser.
 History of Property
 Current listing information:
                        The subject property has not been listed on the local Multiple listing service for at least a one year period. I have no way of
 knowing if it has been offered for sale by owner, but there was no indication of that.

 Prior sale:      The subject property has not closed escrow within three years of the effective date of this appraisal.


 Exposure Time / Marketing Time

 Marketing time and exposure time are not the same. For purposes of this valuation, exposure time was estimated at 90 days or less, based on
 comparable sales data, if the property had been competently marketed.


 Personal (non-realty) Transfers

 This appraisal included no personal property in the opinion of market value.




 Additional Comments

 Readers of this report should also keep in mind that the appraiser is not an expert in areas of construction, structural, soils or other types of
 engineering, termite or pest infestation, roofing, soils or hydrology, forestry, landscaping, surveying, civil engineering, land use or planning,
 environmental or legal matters. The appraiser's job is to estimate market value based on the assumption that there were no issues another
 expert might discover that would be atypical for the market and, therefore, impact marketability or market value. No other experts were consulted
 in the process of estimating the subject's market value. If you have any questions about the appraisers very narrow limit of expertise or about
 this report, contact the appraiser before relying on this report.

 There was a highest and best use determination made and summarized in the report. The assignment was done in a manner consistent with the
 Uniform Standards of Professional Appraisal Practice. (USPAP).

 This report is not to be misconstrued as any of the following: a feasibility report, a highest and best use study, a land use determination, a home
 inspection report, any type of legal determination, any type of report commenting on quality and condition of actual construction integrity, any
 type of engineering report, or any type of report or determination that addresses anything beyond the scope of market data analysis or
 interpretation.




 Certification Supplement
 1. This appraisal assignment was not based on a requested minimum valuation, a specific valuation, or an approval of a loan.
 2. My compensation is not contingent upon the reporting of a predetermined                               value    or   direction     in   value      that   favors   the    cause   of      the     client,   the   amount   of   the   value
    estimate, the attainment of a stipulated result or the occurrence of a subsequent event.

 3. If there are any discrepancies between pre-printed comments and comments that have been manually entered by the appraiser, the manually entered comments are presumed to
    be more correct. This especially targets comments that restrict the appraiser's latitude with the use assistants. Contact the appraiser if you have any questions.
 4. This report was signed with a password-protected digital signature.




                                                                                                                        Supervisory
 Appraiser:              Frank O. May, MAI, SRA, ASA                                                                    Appraiser:
 Signed Date:                03/20/2018                                                                                 Signed Date:
 Certification or License #:          AG002051                                                                          Certification or License #:
 Certification or License State:      CA         Expires:                                                               Certification or License State:                                      Expires:
Case: 18-50604
 Effective Date of Appraisal:                  Doc# 44-4 06/02/2018
                                      03/03/2018
                                                             Filed: 07/16/18Inspection ofEntered:
                                                                                          Subject: 07/16/18
                                                                                                    Did Not   13:39:59
                                                                                                            Exterior Only Interior Page
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                                                                  Form FUA_LG2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                                    Appraiser's Resume                                           File No.   18-0058
   Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
   Property Address   140 College Rd
   City               Watsonville                     County Santa Cruz                             State   CA              Zip Code   95076
   Lender/Client      Julie & Richard Rivera
                                                           ABOUT THE APPRAISER


          Frank O. May, MAI, SRA, ASA, has worked full time as an appraiser in both public and private sectors for over 35 years. He is
          a Certified General Appraiser (#AG002051) and a Real Estate Broker (CalBRE#00555044).

          Real Estate Work Experience
          1986- Present: Frank O. May and Associates, Owner, Senior Appraiser
          1985-1998:     Cabrillo College, Instructor, taught Real Estate Appraisal and economics courses,
          1985-1986:     Paul D. Miller and Associates, Inc. Appraiser: Appraised commercial, industrial and special purpose.
          1983-1985:     Gilbeau-Hulberg Associates, Inc. Appraiser; Appraised residential properties and subdivisions.
          1982-1983:     Associated Appraisers, Appraiser. Appraised residential and mixed use properties throughout SF Bay Area..
          1979-1982:     College of the Redwoods, Instructor Taught entire real estate and economics curriculum.
          1979-1982:     County of Del Norte (CA), Department of Public Works. Real Property Agent

          General Formal Education
          1979 B.A. Economics Humboldt State University, Arcata, CA
          1976 A.A. Real Estate College of the Redwoods, Eureka, CA

          Real Estate Specific Education
          In addition to real estate specific courses at the College and University level, Frank May has completed over 550 hours of real
          estate appraisal-specific courses offered through private institutions. A list of those courses are available upon request.

          Real Estate and Appraisal Membership, Licenses and Designations
          Frank O. May has earned the MAI and SRA designations with the Appraisal Institute and the ASA designation (Accredited
          Senior Appraiser, Real Property- Urban) with the American Society of Appraisers. He is also a member of the National
          Association of REALTORS, the California Association of REALTORS, and the Santa Cruz County Association of REALTORS.

          General Information
          He has testified as an expert witness in real estate valuation in the Superior Courts of Santa Cruz, Santa Clara, Monterey, San
          Benito and Orange Counties; as well as Federal Bankruptcy Court.

          He is an active Broker, Property Manager and Real Estate Instructor. He has also arbitrated real estate disputes as a Panel
          Member for the American Arbitration Association, been an acquisition agent for government and quasi-government agencies,
          been appointed Special Master by the local Superior Court to resolve real estate disputes, been hired by more than 75 attorneys
          and testified more than an estimated 50 times in court.

          Publications and participation
          1995 The Appraisal Journal (Authored article: "Valuation, Full Disclosure and Discrimination")
          1997 Authored articles for the American Society of Appraisers that were published in Newspapers nationwide.
          2002-2005 Review Board Member, The Appraisal Journal
          2003- 2006 International Real Property Committee, American Society of Appraisers
          2006- 2015 Member, Board of Directors, Santa Cruz County Association of REALTORS
          2014- 2016 Member, Santa Cruz County Assessment Appeals Board

          Partial Client List
          American River Bank Axis Appraisal Management Company Bank of America California Department of Transportation
          (CalTrans) Citizen Utility Company of California City of Capitola Comerica Bank Elkhorn Slough Foundation FHLMC
          ("Freddie Mac") First American Title Company Monterey City and County The Nature Conservancy Navy Federal Credit
          Union Norwest Bank Pajaro Valley Water Management Agency Property Sciences Appraisal Management PCV Murcor
          Appraisal Management San Benito County and Councile of Governments ("COG") San Francisco Police Credit Union San
          Lorenzo Valley Water District Santa Cruz County and City Six Rivers National Bank U.S. Department of Justice U.S. Secret
          Service University of California Union Bank of California Wells Fargo Bank

          Along with many other appraisal management companies, lenders, accountants, attorneys, corporations, and agencies.




                                      Form TADD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                           Appraiser's License
  Owner              RIVERA RICHARD JR/GONZALES-RIVERA JULIE
  Property Address   140 College Rd
  City               Watsonville                      County Santa Cruz                                       State    CA   Zip Code   95076
  Lender/Client      Julie & Richard Rivera

                                                      FRANK O. MAY, MAI, SRA, ASA
                                               STATE (CA) CERTIFIED GENERAL APPRAISER
                                                      CalBREA LICENSE #AG002051




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                                       Form MAP.PLAT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
